

People v Mejia (2022 NY Slip Op 00623)





People v Mejia


2022 NY Slip Op 00623


Decided on January 28, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 28, 2022

PRESENT: SMITH, J.P., CENTRA, LINDLEY, WINSLOW, AND BANNISTER, JJ. (Filed Jan. 28, 2022.) 


MOTION NO. (787/21) KA 18-02204.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJOSE MEJIA, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








